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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEW MEXICO
 UNITED STATES OF AMERICA,                       )
                                                 )
                Plaintiff,                       )
                                                 )
        vs.                                      )             No. 21-cr-0571 JB
                                                 )
 ERIC LEE GARCIA,                                )
                                                 )
                Defendant.                       )


            AMENDED JOINT MOTION FOR COMPETENCY EVALUATION
       The United States and Defendant Eric Garcia respectfully moves the Court for an order

under 18 U.S.C. § 4241 for a competency evaluation of Mr. Garcia to be performed by Dr.

Alexander Paret. In support they state:

       1.      A federal grand jury returned an indictment against Mr. Garcia for one count of

Second-Degree Murder in violation of 18 U.S.C. § 1111. Doc. 17.

       2.      On March 16, 2021, Mr. Garcia moved for and the Court granted a request for a

competency evaluation to be conducted by Dr. Julie Brovko. Docs. 10, 12.

       3.      After conducting her review, Dr. Brovko opined that Mr. Garcia may have

cognitive deficits that impacted his competency abilities, but she could not determine if they were

genuine. She recommended inpatient evaluation of Mr. Garcia so that additional data could be

collected. Doc. 18.

       4.      On June 3, 2021, the Court held a hearing on competency, and Mr. Garcia requested

a second local competency evaluation by Dr. Alexander Paret. The United States orally opposed

raising the issue of delay. The Court requested the parties to confer and file their positions by

Friday, June 11, 2021. Doc. 21.
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       5.      The parties conferred and, upon Mr. Garcia’s representation through counsel that

he believes a second local evaluation by Dr. Alexander Paret can be accomplished relatively

swiftly, the United States does not object to an evaluation conducted by Dr. Alexander Paret.

       6. Payments up to 30 hours, at a rate of $175.00 per hour, are necessary to provide fair

compensation for investigation by Dr. Alexander Paret.

       For the foregoing reasons, the parties request that the Court order an evaluation of Mr.

Garcia for a competency determination to be conducted by Dr. Alexander Paret.

                                                    Respectfully submitted,

                                                    Electronically filed on July 2, 2021
                                                    Lucas B. Babycos
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                                                    Attorney for Defendant

                                                    AND

                                                    FRED FEDERICI
                                                    Acting United States Attorney

                                                    Electronically approved on July 1, 2021
                                                    FREDERICK T. MENDENHALL
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I HEREBY CERTIFY that I filed
the foregoing electronically through the CM/ECF
system, which caused counsel for the Defendant
to be served by electronic means, as more fully
reflected on the Notice of Electronic Filing.

/s/ Lucas B. Babycos
LUCAS BABYCOS
Counsel for Defendant

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